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 Fill in this information to identify the case:

 Debtor name         Flywheel Sports, Inc.

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF NEW YORK

 Case number (if known)         20-12158
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                 04/19
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

           None.

       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                  Gross revenue
       which may be a calendar year                                                            Check all that apply                (before deductions and
                                                                                                                                   exclusions)

       From the beginning of the fiscal year to filing date:                                       Operating a business                     $8,655,068.00
       From 1/01/2020 to Filing Date
                                                                                                   Other


       From the beginning of the fiscal year to filing date:                                       Operating a business                   $69,606,196.00
       From 1/01/2020 to Filing Date
                                                                                                   Other


       For prior year:                                                                             Operating a business                   $48,685,528.00
       From 1/01/2019 to 12/31/2019
                                                                                                   Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

           None.

                                                                                               Description of sources of revenue   Gross revenue from
                                                                                                                                   each source
                                                                                                                                   (before deductions and
                                                                                                                                   exclusions)

       From the beginning of the fiscal year to filing date:
       From 1/01/2020 to Filing Date                                                           Peloton Sale                               $24,500,000.00


       For year before that:
       From 1/01/2018 to 12/31/2018                                                            Bank Account Interest                               $189.00


       For year before that:
       From 1/01/2018 to 12/31/2018                                                            Other income                                 $1,333,099.00


 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy



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3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,825. (This amount may be adjusted on 4/01/22
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

          None.

       Creditor's Name and Address                                         Dates                 Total amount of value           Reasons for payment or transfer
                                                                                                                                 Check all that apply
       3.1.
               See Attached Schedule                                       6/16/2020-9/1                 $2,474,420.15                Secured debt
                                                                           4/2020                                                     Unsecured loan repayments
                                                                                                                                      Suppliers or vendors
                                                                                                                                      Services
                                                                                                                                      Other



4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,825. (This amount
   may be adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

          None.

       Insider's name and address                                          Dates                 Total amount of value           Reasons for payment or transfer
       Relationship to debtor
       4.1.    FW AIV, LLC                                                 2/12/2020                   $24,302,254.00            Sale of Collateral
               c/o Cogency Global Inc
               850 New Burton Rd, Ste 20
               Dover, DE 19904
               Majority owner of Flywheel Sports,
               Parent, Inc.

       4.2.    Travis Frenzel                                                                              $164,082.41           Salary, expense reimbursement
               Redacted
               Former President

       4.3.    Samantha Manheimer                                                                           $26,326.91           Salary
               Redacted
               Former President

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

          None

       Creditor's name and address                               Describe of the Property                                      Date                 Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.




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           None

       Creditor's name and address                               Description of the action creditor took                       Date action was                Amount
                                                                                                                               taken
       6.1.    Expeditors Int'l of                               Sale of Spin Bikes                                            Unknown           Unknown
               Washington, Inc.
               150 Raritan Center Pkwy
               Edison, NJ 08337

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

           None.

               Case title                                        Nature of case            Court or agency's name and                Status of case
               Case number                                                                 address
       7.1.    BRE-FMCA, LLC v. Flywheel                         Civil                     King County, Washington                       Pending
               Sports, Inc.                                                                Superior Court                                On appeal
               20-2-09947-3 SEA                                                            516 Third Avenue                              Concluded
                                                                                           Seattle, WA 98104

       7.2.    One Superior Place                                Complaint in              Circuit Court of Cook                         Pending
               Leasehold, LLC v. Flywheel                        Forcible Detainer         County, IL,1stDist                            On appeal
               Sports, Inc.                                      and Rent or               Richard J. Daley Center                       Concluded
               2020-M1-705073                                    Damages Claims            50 West Washington, Suite
                                                                                           1001
                                                                                           Chicago, IL 60602

       7.3.    Joseph E. Teegardin v.                            Complaint for             NYC Dept of Consumer                          Pending
               Flywheel Sports, Inc.                             Freelance                 Affairs - OLPS                                On appeal
                                                                 Workers                   Attn: Office of Labor Policy                  Concluded
                                                                                           & Standards
                                                                                           42 Broadway, 9th Floor
                                                                                           New York, NY 10004

       7.4.    Joseph E. Teegardin v.                            Arbitration               JAMS                                          Pending
               Flywheel Sports, Inc.                                                       NY Times Building                             On appeal
                                                                                           620 8th Avenue                                Concluded
                                                                                           New York, NY 10018

       7.5.    New Tech Mechanical                               Civil                     NYS Supreme Court - NY                        Pending
               Systems, Inc. v. Flywheel                                                   County                                        On appeal
               Sports, Inc., et al.                                                        60 Centre Street                              Concluded
               154943/2020                                                                 New York, NY 10007

       7.6.    Elissa Goetschius v. Flywheel                     New York City             New York City Commission                      Pending
               Sports, Inc.                                      Commission on             on Human Rights                               On appeal
               M-E-DS-20-77515-E                                 Human Rights              22 Reade Street                               Concluded
                                                                 Complaint                 New York, NY 10007

       7.7.    Alicia Steele v. Flywheel                         EEOC Complaint            U.S. Equal Employment                         Pending
               Sports, Inc.                                                                Opportunity Commis                            On appeal
                                                                                           131 M Street NE                               Concluded
                                                                                           Washington, DC 20507




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               Case title                                        Nature of case            Court or agency's name and          Status of case
               Case number                                                                 address
       7.8.    A2 Media Corporation d/b/a                        Civil                     Washtenaw County, MI Trial              Pending
               Icon Interactive and Big                                                    Court                                   On appeal
               Mirror Labs LLC v. Flywheel                                                 101 E. Huron St.                        Concluded
               Sports, Inc.                                                                P.O. Box 8645
               20-000584-CB                                                                Ann Arbor, MI 48107

       7.9.    Peloton Interactive, Inc. v.                      Civil                     U.S. Dist. Ct. - Eastern Dist.          Pending
               Flywheel Sports, Inc.                                                       of Texas                                On appeal
               2020-mc-00002-RWS-RSP                                                       Sam B. Hall Jr. Federal                 Concluded
                                                                                           Building
                                                                                           100 East Houston Street
                                                                                           Room 125
                                                                                           Marshall, TX 75670

       7.10 Peloton Interactive, Inc. v.                         Civil                     U.S. Dist. Ct. - Eastern Dist.          Pending
       .    Flywheel Sports, Inc.                                                          of Texas                                On appeal
               19-cv-00317-JRG-RSP                                                         Sam B. Hall Jr. Federal                 Concluded
                                                                                           Building
                                                                                           100 East Houston Street
                                                                                           Room 125
                                                                                           Marshall, TX 75670

       7.11 Peolton Interactive, Inc. v.                         Civil                     U.S. Dist. Ct. - Eastern Dist.          Pending
       .    Flywheel Sports, Inc.                                                          of Texas                                On appeal
               28-cv-00390-RWS-RSP                                                         Sam B. Hall Jr. Federal                 Concluded
                                                                                           Building
                                                                                           100 East Houston Street
                                                                                           Room 125
                                                                                           Marshall, TX 75670

       7.12 Peloton Interactive, Inc. v.                         Civil                     U.S. Dist. Ct. - Southern               Pending
       .    Flywheel Sports, Inc.                                                          Dist. of NY                             On appeal
               19-mc-00553-AJN                                                             40 Foley Square                         Concluded
                                                                                           New York, NY 10007

       7.13 Christina Henricks v.                                Class Action              U.S. Dist. Ct. - Southern               Pending
       .    Flywheel Sports, Inc.                                                          Dist. of NY                             On appeal
               19-cv-00895-PGG                                                             40 Foley Square                         Concluded
                                                                                           New York, NY 10007

       7.14 Charhon Callahan Robson                              Civil                     District Court Dallas                   Pending
       .    Garza, PLLC v. Flywheel                                                        County, TX                              On appeal
               Sports, Inc.                                                                600 Commerce Street                     Concluded
               DC-20-08099                                                                 7th Floor New Tower
                                                                                           Dallas, TX 75202


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

           None


 Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

           None


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                Recipient's name and address                     Description of the gifts or contributions                Dates given                      Value


 Part 5:       Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

           None

       Description of the property lost and                      Amount of payments received for the loss                 Dates of loss       Value of property
       how the loss occurred                                                                                                                               lost
                                                                 If you have received payments to cover the loss, for
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.

                                                                 List unpaid claims on Official Form 106A/B (Schedule
                                                                 A/B: Assets – Real and Personal Property).

 Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

           None.

                 Who was paid or who received                        If not money, describe any property transferred           Dates           Total amount or
                 the transfer?                                                                                                                          value
                 Address
       11.1.     Kilpatrick Townsend &
                 Stockton LLP
                 1100 Peachtree St. NE                                                                                         8/5/2020,
                 Suite 2800                                                                                                    9/2/2020,
                 Atlanta, GA 30309                                                                                             9/9/2020           $500,000.00

                 Email or website address
                 www.kilpatricktownsend.com

                 Who made the payment, if not debtor?




       11.2.     Omni Agent Solutions
                 1120 Avenue of the Americas
                 4th fl.
                 New York, NY 10036                                                                                            9/9/2020            $57,500.00

                 Email or website address
                 www.omniagentsolutions.com/

                 Who made the payment, if not debtor?




       11.3.     Potter Anderson Corroon LLP
                 1313 N Market St                                                                                              8/12/2020,
                 Wilmington, DE 19801                                                                                          9/9/2020           $135,000.00

                 Email or website address
                 www.potteranderson.com/

                 Who made the payment, if not debtor?




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                 Who was paid or who received                        If not money, describe any property transferred           Dates                 Total amount or
                 the transfer?                                                                                                                                value
                 Address
       11.4.     Aurora Management Partners                                                                                    8/14/2020,
                 112 South Tryon St.                                                                                           8/26/2020,
                 Suite 1770                                                                                                    9/2/2020,
                 Charlotte, NC 28284                                                                                           9/9/2020                 $133,360.00

                 Email or website address
                 www.auroramp.com/

                 Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

           None.

       Name of trust or device                                       Describe any property transferred                Dates transfers                Total amount or
                                                                                                                      were made                               value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

           None.

                Who received transfer?                           Description of property transferred or                  Date transfer               Total amount or
                Address                                          payments received or debts paid in exchange             was made                             value
                Ramon A. De La Cruz                              2010 Chevrolet Express                                  6/4/2020                                 $0
                41 Rein Ave.
                Haverstraw, NY 10927

 Part 7:       Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


           Does not apply

                 Address                                                                                                   Dates of occupancy
                                                                                                                           From-To

 Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

            No. Go to Part 9.
            Yes. Fill in the information below.


                 Facility name and address                       Nature of the business operation, including type of services               If debtor provides meals
                                                                 the debtor provides                                                        and housing, number of
                                                                                                                                            patients in debtor’s care

 Part 9:       Personally Identifiable Information




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16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.

                  Personal information, including address and email address, of
                  customers
                  Does the debtor have a privacy policy about that information?
                    No
                    Yes

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?

                        No Go to Part 10.
                        Yes. Fill in below:

 Part 10:     Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

          None
              Financial Institution name and                     Last 4 digits of         Type of account or          Date account was            Last balance
              Address                                            account number           instrument                  closed, sold,           before closing or
                                                                                                                      moved, or                        transfer
                                                                                                                      transferred
       18.1     SunTrust Bank                                    3316                     Deposit Account             9/2020               $0
                Attn: Sham Ebrahim, VP Bus
                Banking
                7455 Chancellor Dr
                Orlando, FL 32809

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


          None

       Depository institution name and address                       Names of anyone with                 Description of the contents           Do you still
                                                                     access to it                                                               have it?
                                                                     Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


          None

       Facility name and address                                     Names of anyone with                 Description of the contents           Do you still
                                                                     access to it                                                               have it?
       Bergen Shippers Corp                                          N/A                                  Retail inventory, equipment,             No
       5903 Westside Ave                                                                                  uniforms, accessories                    Yes
       North Bergen, NJ 07047




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       Facility name and address                                     Names of anyone with                 Description of the contents        Do you still
                                                                     access to it                                                            have it?
       PanurgyOEM                                                    N/A                                  Bikes, accessories                     No
       701 Ford Road                                                                                                                             Yes
       Rockaway, NJ 07866

       Expeditors International of Washington                        N/A                                  Bikes, accessories                     No
       150 Raritan Center Parkway                                                                                                                Yes
       Edison, NJ 08837

       XPO Last Miles, Inc                                           N/A                                  Bikes, accessories                     No
       6314 Fly Rd                                                                                                                               Yes
       East Syracuse, NY 13057

       Treasure Island Storage                                       N/A                                  Bikes, accessories                     No
       2325 Hollers Ave                                                                                                                          Yes
       Bronx, NY 10475



 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

        None


 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No.
            Yes. Provide details below.

       Case title                                                    Court or agency name and             Nature of the case                 Status of case
       Case number                                                   address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known    Date of notice
                                                                     address

24. Has the debtor notified any governmental unit of any release of hazardous material?

            No.
            Yes. Provide details below.




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       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

            None

    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed
    25.1.                                                     Fitness                                          EIN:
             Flywheel Middle East
             PO Box 309, Ugland House
             Grand Cayman                                                                                      From-To      3/19/2012-Present
             KY1-1104, Cayman Islands

    25.2.                                                     Fitness                                          EIN:
             Flywheel Astor Place LLC                                                                                       XX-XXXXXXX
             53 West 23rd St.
             New York, NY 10010                                                                                From-To


    25.3.                                                     Fitness                                          EIN:
             Flywheel Buckhead LLC                                                                                          XX-XXXXXXX
             53 West 23rd Street
             New York, NY 10010                                                                                From-To


    25.4.                                                     Fitness                                          EIN:
             Flywheel CCDC, LLC                                                                                             XX-XXXXXXX
             53 West 23rd Street
             New York, NY 10010                                                                                From-To


    25.5.                                                     Fitness                                          EIN:
             Flywheel Denver Union                                                                                          XX-XXXXXXX
             Station, LLC
             53 West 23rd Street                                                                               From-To
             New York, NY 10010

    25.6.                                                     Fitness                                          EIN:
             Flywheel Domain LLC                                                                                            XX-XXXXXXX
             53 West 23rd Street
             New York, NY 10010                                                                                From-To


    25.7.                                                     Fitness                                          EIN:
             Flywheel NM LLC                                                                                                XX-XXXXXXX
             53 West 23rd Street
             New York, NY 10010                                                                                From-To


    25.8.                                                     Fitness                                          EIN:
             Flywheel Park Avenue LLC                                                                                       XX-XXXXXXX
             53 West 23rd Street
             New York, NY 10010                                                                                From-To


    25.9.                                                     Fitness                                          EIN:
             Flywheel Playa Vista, LLC                                                                                      XX-XXXXXXX
             53 West 23rd Street
             New York, NY 10010                                                                                From-To


    25.10                                                     Fitness                                          EIN:
          Flywheel San Francisco, LLC                                                                                       XX-XXXXXXX
    .
             53 West 23rd Street
             New York, NY 10010                                                                                From-To




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    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed
    25.11                                                     Fitness                                          EIN:
          Flywheel Santa Monica, LLC                                                                                        XX-XXXXXXX
    .
             53 West 23rd Street
             New York, NY 10010                                                                                From-To


    25.12                                                     Fitness                                          EIN:
          Flywheel Sports Scottsdale,                                                                                       XX-XXXXXXX
    .
             LLC
             53 West 23rd Street                                                                               From-To
             New York, NY 10010

    25.13                                                     Fitness                                          EIN:
          Flywheel Topanga LLC                                                                                              XX-XXXXXXX
    .
             53 West 23rd Street
             New York, NY 10010                                                                                From-To


    25.14                                                     Fitness                                          EIN:
          Flywheel Walnut Creek LLC                                                                                         XX-XXXXXXX
    .
             53 West 23rd Street
             New York, NY 10010                                                                                From-To


    25.15                                                     Fitness                                          EIN:
          Flywheel Williamsburg LLC                                                                                         XX-XXXXXXX
    .
             53 West 23rd Street
             New York, NY 10010                                                                                From-To



26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26a.1.       BDO USA, LLP                                                                                                               2019 Tax Return
                    100 Park Avenue
                    New York, NY 10017-5001
       26a.2.       Francesca Brucato                                                                                                          4/11/2016-9/11/2020
                    53 West 23rd Street
                    New York, NY 10010
       26a.3.       Julie Albanese                                                                                                             5/15/2018-9/11/2020
                    53 West 23rd Street
                    New York, NY 10010

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

                None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26b.1.       See question 26a



    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

                None

       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why


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 Debtor      Flywheel Sports, Inc.                                                                      Case number (if known) 20-12158



       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why
       26c.1.       Kennedy Lewis Investment Management
                    111 West 33rd Street
                    Ste 1910
                    New York, NY 10120
       26c.2.       Francesca Brucato
                    53 West 23rd Street
                    New York, NY 10010
       26c.3.       Julie Albanese
                    53 West 23rd St.
                    New York, NY 10010

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

                None

       Name and address
       26d.1.  Kennedy Lewis Investment Management
                    111 West 33rd Street
                    Ste 1910
                    New York, NY 10120
       26d.2.       Benvolio Ventures LLC - Series Flywheel
                    c/o Corporate Trust Center
                    1209 Orange St
                    Wilmington, DE 19801

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

            No
            Yes. Give the details about the two most recent inventories.

                Name of the person who supervised the taking of the                          Date of inventory       The dollar amount and basis (cost, market,
                inventory                                                                                            or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Flywheel Sports Parent,                        53 West 23rd Street, 9th Fl.                        Sole Member                           100
       Inc.                                           New York, NY 10010

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       James Continenza                               343 State Street                                    Board Member
                                                      Rochester, NY 14650

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Darren Richman                                 111 W. 33rd Street                                  Board Member
                                                      Ste 1910
                                                      New York, NY 10120
       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Travis Frenzel                                 53 West 53rd Street                                 President
                                                      New York, NY 10010



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 Debtor      Flywheel Sports, Inc.                                                                      Case number (if known) 20-12158




29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


            No
            Yes. Identify below.

       Name                                           Address                                             Position and nature of any       Period during which
                                                                                                          interest                         position or interest
                                                                                                                                           was held
       Jeffrey Naumowitz                              Redacted                                            Former CFO                       May
                                                                                                                                           2019-February
                                                                                                                                           2020
       Name                                           Address                                             Position and nature of any       Period during which
                                                                                                          interest                         position or interest
                                                                                                                                           was held
       Samantha Manheimer                             Redacted                                            Former President                 February 2020 -
                                                                                                                                           March 2020


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

            No
            Yes. Identify below.

               Name and address of recipient                     Amount of money or description and value of             Dates             Reason for
                                                                 property                                                                  providing the value
       30.1 Travis Frenzel
       .    53 West 23rd Street                                                                                                            Salary, expense
               New York, NY 10010                                164,082.41                                                                reimbursement

               Relationship to debtor
               President


       30.2 Samantha Manheimer
       .    Redacted                                             $26,326.91                                                                Salary

               Relationship to debtor
               Former President


       30.3 FW AIV, LLC
       .    c/o Cogency Global Inc
               850 New Burton Rd, Ste 20
               Dover, DE 19904                                   $24,302,254.00                                          2/12/2020         Sale of Collateral

               Relationship to debtor
               Majority Owner of Flywheel
               Sports Parent, Inc.


31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation
    Flywheel Sports Parent, Inc.                                                                               EIN:        XX-XXXXXXX



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 Debtor      Flywheel Sports, Inc.                                                                      Case number (if known) 20-12158



32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

            No
            Yes. Identify below.

    Name of the pension fund                                                                                   Employer Identification number of the parent
                                                                                                               corporation

 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on         October 13, 2020

 /s/ Travis Frenzel                                                     Travis Frenzel
 Signature of individual signing on behalf of the debtor                Printed name

 Position or relationship to debtor         Authorized Signatory

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




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1647 Wells LLC                        7/14/2020          1,483.21   c/o Donald Goldstein            1653 North Wells Street        Chicago        IL    60614-0000
1647 Wells LLC                        7/14/2020          1,483.21   c/o Donald Goldstein            1653 North Wells Street        Chicago        IL    60614-0000
1647 Wells LLC                        8/4/2020           1,483.21   c/o Donald Goldstein            1653 North Wells Street        Chicago        IL    60614-0000
Abigail May                           7/21/2020             27.41   Redacted
Adam Crinson                          8/20/2020            110.00   Redacted
ADP                                   8/26/2020         50,259.58   1 ADP Boulevard                 Attn:Legal Department          Roseland       NJ   07068-0000
ADP                                   7/15/2020         49,944.42   1 ADP Boulevard                 Attn:Legal Department          Roseland       NJ   07068-0000
ADP                                   7/29/2020         47,733.15   1 ADP Boulevard                 Attn:Legal Department          Roseland       NJ   07068-0000
ADP                                   6/17/2020         46,950.09   1 ADP Boulevard                 Attn:Legal Department          Roseland       NJ   07068-0000
ADP                                   8/12/2020         46,754.67   1 ADP Boulevard                 Attn:Legal Department          Roseland       NJ   07068-0000
ADP                                   6/30/2020         46,496.20   1 ADP Boulevard                 Attn:Legal Department          Roseland       NJ   07068-0000
ADP - 401k                            8/14/2020          3,016.77   1 ADP Boulevard                 Attn:Legal Department          Roseland       NJ   07068-0000
ADP - 401k                            8/28/2020          2,711.21   1 ADP Boulevard                 Attn:Legal Department          Roseland       NJ   07068-0000
ADP - Payroll                         9/8/2020          48,641.62   1 ADP Boulevard                 Attn:Legal Department          Roseland       NJ   07068-0000
ADP - Payroll                         9/8/2020          25,423.02   1 ADP Boulevard                 Attn:Legal Department          Roseland       NJ   07068-0000
ADP - Payroll Fees                    8/14/2020          2,699.91   1 ADP Boulevard                 Attn:Legal Department          Roseland       NJ   07068-0000
ADP - Payroll Fees                    7/17/2020            852.86   1 ADP Boulevard                 Attn:Legal Department          Roseland       NJ   07068-0000
ADP - Payroll Fees                    7/17/2020            698.57   1 ADP Boulevard                 Attn:Legal Department          Roseland       NJ   07068-0000
ADP - Payroll Fees                    6/19/2020            499.61   1 ADP Boulevard                 Attn:Legal Department          Roseland       NJ   07068-0000
ADP - Payroll Fees                    8/14/2020            312.26   1 ADP Boulevard                 Attn:Legal Department          Roseland       NJ   07068-0000
ADP Tax                               6/18/2020         24,067.75   1 ADP Boulevard                 Attn:Legal Department          Roseland       NJ   07068-0000
ADP Tax                               7/16/2020         23,833.52   1 ADP Boulevard                 Attn:Legal Department          Roseland       NJ   07068-0000
ADP Tax                               7/30/2020         23,518.08   1 ADP Boulevard                 Attn:Legal Department          Roseland       NJ   07068-0000
ADP Tax                               8/13/2020         23,515.45   1 ADP Boulevard                 Attn:Legal Department          Roseland       NJ   07068-0000
ADP Tax                               7/1/2020          21,930.54   1 ADP Boulevard                 Attn:Legal Department          Roseland       NJ   07068-0000
ADP Tax                               7/24/2020            119.87   1 ADP Boulevard                 Attn:Legal Department          Roseland       NJ   07068-0000
ADP Tax                               7/1/2020              29.38   1 ADP Boulevard                 Attn:Legal Department          Roseland       NJ   07068-0000
ADP Tax                               8/27/2020         33,517.22   1 ADP Boulevard                 Attn:Legal Department          Roseland       NJ   07068-0000
ADR 1521 Locust                       8/4/2020           3,789.49   Attn: Allan Domb                1845 Walnut St., Suite 2200    Philadelphia   PA   19103-0000
ADR 1521 Locust, L.P.                 9/1/2020           6,539.99   Attn: Allan Domb                1845 Walnut St., Suite 2200    Philadelphia   PA   19103-0000
ADR 1521 Locust, L.P.                 8/24/2020          5,800.43   Attn: Allan Domb                1845 Walnut St., Suite 2200    Philadelphia   PA   19103-0000
ADR 1521 Locust, L.P.                 9/1/2020             312.62   Attn: Allan Domb                1845 Walnut St., Suite 2200    Philadelphia   PA   19103-0000
ADR 1521 Locust, L.P.                 6/22/2020         15,000.00   Attn: Allan Domb                1845 Walnut St., Suite 2200    Philadelphia   PA   19103-0000
ADR 1521 Locust, L.P.                 8/25/2020          4,417.35   Attn: Allan Domb                1845 Walnut St., Suite 2200    Philadelphia   PA   19103-0000
ADR 1521 Locust, L.P.                 6/22/2020          3,789.49   Attn: Allan Domb                1845 Walnut St., Suite 2200    Philadelphia   PA   19103-0000
ADR 1521 Locust, L.P.                 6/30/2020          3,789.49   Attn: Allan Domb                1845 Walnut St., Suite 2200    Philadelphia   PA   19103-0000
Airespring, Inc                       7/31/2020          4,000.00   7800 Woodley Ave                                               Van Nuys       CA   91406
Alexandria Langlois                   7/24/2020            120.00   Redacted
Alicia Miller                         8/20/2020            140.00   Redacted
Alicia Miller                         9/1/2020             140.00   Redacted
Alicia Miller                         7/23/2020            120.00   Redacted
Amazon Web Services                   8/13/2020         14,819.74   410 Terry Ave N                                                Seattle        WA   98109
                                                                                           Page 1
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Amazon Web Services                   7/13/2020         14,726.13   410 Terry Ave N                             Seattle       WA 98109
Amazon Web Services                   9/14/2020         14,298.27   410 Terry Ave N                             Seattle       WA 98109
American Express                      8/19/2020         23,431.95   P.O. Box 981535                             El Paso       TX 79998
American Express                      6/17/2020          7,194.47   P.O. Box 981535                             El Paso       TX 79998
American Express                      6/16/2020          7,000.00   P.O. Box 981535                             El Paso       TX 79998
American Express                      9/14/2020          3,529.88   P.O. Box 981535                             El Paso       TX 79998
American Express                      6/19/2020            334.70   P.O. Box 981535                             El Paso       TX 79998
American Express                      6/26/2020            120.82   P.O. Box 981535                             El Paso       TX 79998
Andrew Fick                           9/11/2020          6,066.42   Redacted
Andrew Mackenzie                      8/5/2020             160.00   Redacted
Andrew Mackenzie                      8/20/2020            100.00   Redacted
Andrew McKenzie                       8/11/2020            150.00   Redacted
Andrew McKenzie                       9/14/2020            100.00   Redacted
Aurora Management Partners            8/14/2020         50,000.00   112 South Tryon St.        Suite 1770       Charlotte     NC   28284
Aurora Management Partners            9/9/2020          41,138.00   112 South Tryon St.        Suite 1770       Charlotte     NC   28284
Aurora Management Partners            8/26/2020         22,848.00   112 South Tryon St.        Suite 1770       Charlotte     NC   28284
Aurora Management Partners            9/2/2020          19,374.00   112 South Tryon St.        Suite 1770       Charlotte     NC   28284
Bank of America - Fee                 7/15/2020          2,537.94   100 North Tryon Street                      Charlotte     NC   28255
Bank of America - Fee                 8/17/2020          2,518.29   100 North Tryon Street                      Charlotte     NC   28255
Bank of America Merchant Services     8/3/2020           1,625.88   150 N College St #15                        Charlotte     NC   28202
Bank of America Merchant Services     8/27/2020            694.84   150 N College St #15                        Charlotte     NC   28202
Bank of America Merchant Services     8/19/2020            445.36   150 N College St #15                        Charlotte     NC   28202
Bank of America Merchant Services     7/30/2020            442.06   150 N College St #15                        Charlotte     NC   28202
Bank of America Merchant Services     9/9/2020             409.77   150 N College St #15                        Charlotte     NC   28202
Bank of America Merchant Services     9/14/2020            370.13   150 N College St #15                        Charlotte     NC   28202
Bernex Richardson                     8/20/2020             40.00   Redacted
Bernex Richardson                     9/2/2020              40.00   Redacted
Bernex Richardson                     7/28/2020             20.00   Redacted
CA DEPT TAX FEE                       6/19/2020             18.20   450 N. Street                               Sacramento    CA   95814
Camp Canadensis                       6/25/2020          1,100.00   199 Camp Canadensis Rd                      Canadensis    PA   18325
Camp Canadensis                       7/2/2020           1,100.00   199 Camp Canadensis Rd                      Canadensis    PA   18325
Cassandra Liveris                     6/16/2020            180.00   Redacted
Chelsea Spencer                       7/21/2020             50.00   Redacted
CHLIC                                 7/2/2020           5,981.72   PO Box 644546                               Pittsburgh    PA   15264-4546
Chloe Manese                          7/31/2020             50.00   Redacted
Christopher Palmer                    8/10/2020             40.00   Redacted
Cigna                                 7/3/2020           1,195.04   900 Cottage Grove Rd                        Bloomfield    CT   06002-0000
Cigna                                 8/20/2020            489.89   900 Cottage Grove Rd                        Bloomfield    CT   06002-0000
Cigna                                 7/21/2020            249.71   900 Cottage Grove Rd                        Bloomfield    CT   06002-0000
Cigna                                 6/22/2020            133.73   900 Cottage Grove Rd                        Bloomfield    CT   06002-0000
Cigna Behavioral Health                7/9/2020             42.24   P.O. Box 1450 NW 7307                       Minneapolis   MN   55485
Cigna Behavioral Health                7/2/2020             42.24   P.O. Box 1450 NW 7307                       Minneapolis   MN   55485
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Cigna Healthcare                      7/2/2020          75,711.59   900 Cottage Grove Rd                        Bloomfield     CT 06002-0000
City of Chicago - Water               8/26/2020             10.64   P.O. Box 6330                               Chicago        IL    60680-6330
City of Denver - Sales Tax            6/19/2020             36.00   201 W. Colfax Ave.            Dept 1009     Denver         CO 80202
City of Denver - Sales Tax            7/21/2020             11.00   201 W. Colfax Ave.            Dept 1009     Denver         CO 80202
City of Miami                         9/1/2020             215.38   444 SW 2nd Ave, 6th Fl                      Miami          FL    33130
City of Miami                         6/30/2020            215.38   444 SW 2nd Ave, 6th Fl                      Miami          FL    33130
City of Miami                         7/30/2020            212.63   444 SW 2nd Ave, 6th Fl                      Miami          FL    33130
Coastal Software                      6/29/2020             20.35    9320 NE Vancouver Mall Dr.   Ste 103       Vancouver      WA 98662
Coastal Software                      8/28/2020             18.05    9320 NE Vancouver Mall Dr.   Ste 103       Vancouver      WA 98662
Coastal Software                      7/31/2020             16.95    9320 NE Vancouver Mall Dr.   Ste 103       Vancouver      WA 98662
Comcast                               9/9/2020             333.08   1701 John F Kennedy Blvd                    Philadelphia   PA 19103
Comcast                               8/10/2020            333.04   1701 John F Kennedy Blvd                    Philadelphia   PA 19103
Comcast                               7/9/2020             331.80   1701 John F Kennedy Blvd                    Philadelphia   PA 19103
Comcast                               9/8/2020             151.52   1701 John F Kennedy Blvd                    Philadelphia   PA 19103
Comcast                               8/6/2020             151.48   1701 John F Kennedy Blvd                    Philadelphia   PA 19103
Comcast                               7/6/2020             149.17   1701 John F Kennedy Blvd                    Philadelphia   PA 19103
Comcast                               6/18/2020            130.06   1701 John F Kennedy Blvd                    Philadelphia   PA 19103
Comcast                               7/20/2020            130.06   1701 John F Kennedy Blvd                    Philadelphia   PA 19103
Comcast                               8/18/2020            130.06   1701 John F Kennedy Blvd                    Philadelphia   PA 19103
ComEd                                 8/21/2020            343.75   P.O. Box 805379                             Chicago        IL    60680-5379
ComEd                                 7/28/2020            288.13   P.O. Box 805379                             Chicago        IL    60680-5379
ComEd                                 8/17/2020            226.57   P.O. Box 805379                             Chicago        IL    60680-5379
ComEd                                 6/17/2020            198.17   P.O. Box 805379                             Chicago        IL    60680-5379
ComEd                                 6/23/2020            188.85   P.O. Box 805379                             Chicago        IL    60680-5379
ComEd                                 7/16/2020            172.71   P.O. Box 805379                             Chicago        IL    60680-5379
ComEd                                 6/23/2020             79.63   P.O. Box 805379                             Chicago        IL    60680-5379
ComEd                                 7/23/2020             66.97   P.O. Box 805379                             Chicago        IL    60680-5379
ComEd                                 8/21/2020             66.44   P.O. Box 805379                             Chicago        IL    60680-5379
ConEdison                             8/7/2020           4,389.47   JAF Station PO Box 1702                     New York       NY 10116-1702
ConEdison                             8/17/2020          4,324.86   JAF Station PO Box 1702                     New York       NY 10116-1702
ConEdison                             9/8/2020           4,305.31   JAF Station PO Box 1702                     New York       NY 10116-1702
ConEdison                             7/20/2020          4,088.74   JAF Station PO Box 1702                     New York       NY 10116-1702
ConEdison                             6/17/2020          4,077.16   JAF Station PO Box 1702                     New York       NY 10116-1702
ConEdison                             7/9/2020           3,511.00   JAF Station PO Box 1702                     New York       NY 10116-1702
ConEdison                             7/20/2020          2,924.04   JAF Station PO Box 1702                     New York       NY 10116-1702
ConEdison                             8/27/2020          2,704.54   JAF Station PO Box 1702                     New York       NY 10116-1702
ConEdison                             6/22/2020          2,677.79   JAF Station PO Box 1702                     New York       NY 10116-1702
ConEdison                             6/18/2020          2,187.05   JAF Station PO Box 1702                     New York       NY 10116-1702
ConEdison                             7/22/2020          1,887.78   JAF Station PO Box 1702                     New York       NY 10116-1702
ConEdison                             8/24/2020          1,598.44   JAF Station PO Box 1702                     New York       NY 10116-1702
ConEdison                             7/24/2020          1,548.98   JAF Station PO Box 1702                     New York       NY 10116-1702
ConEdison                             8/24/2020          1,461.81   JAF Station PO Box 1702                     New York       NY 10116-1702
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ConEdison                             7/24/2020          1,365.70   JAF Station PO Box 1702                            New York      NY 10116-1702
ConEdison                             6/24/2020          1,238.68   JAF Station PO Box 1702                            New York      NY 10116-1702
ConEdison                             6/24/2020          1,237.58   JAF Station PO Box 1702                            New York      NY 10116-1702
ConEdison                             6/30/2020            887.94   JAF Station PO Box 1702                            New York      NY 10116-1702
ConEdison                             7/30/2020            833.85   JAF Station PO Box 1702                            New York      NY 10116-1702
ConEdison                             8/28/2020            820.51   JAF Station PO Box 1702                            New York      NY 10116-1702
ConEdison                             6/16/2020            700.15   JAF Station PO Box 1702                            New York      NY 10116-1702
ConEdison                             7/17/2020            671.70   JAF Station PO Box 1702                            New York      NY 10116-1702
ConEdison                             8/14/2020            645.22   JAF Station PO Box 1702                            New York      NY 10116-1702
ConEdison                             8/25/2020             97.51   JAF Station PO Box 1702                            New York      NY 10116-1702
ConEdison                             7/27/2020             55.83   JAF Station PO Box 1702                            New York      NY 10116-1702
ConEdison                             6/25/2020              3.65   JAF Station PO Box 1702                            New York      NY 10116-1702
Contour Asset Management              6/29/2020            250.00   99 Park Ave, Ste 1540                              New York      NY 10016
Courtney Mayer                        8/26/2020             11.48   Redacted
Darius Redfearn                       8/20/2020             80.00   Redacted
DC-OTR-WEB-SLU                        7/22/2020              8.93   Unknown
DC-OTR-WEB-SLU                        7/22/2020            104.38   Unknown
DC-OTR-WEB-SLU                        6/22/2020            152.24   Unknown
DC-OTR-WEB-SLU                        6/22/2020            152.24   Unknown
Duke Energy                           6/30/2020            467.15   P.O. Box 70516                                     Charlotte     NC   28272-0516
Duke Energy                           7/31/2020            460.64   P.O. Box 70516                                     Charlotte     NC   28272-0516
Duke Energy                           8/21/2020            439.64   P.O. Box 70516                                     Charlotte     NC   28272-0516
Duke Energy                           9/1/2020             439.62   P.O. Box 70516                                     Charlotte     NC   28272-0516
Duke Energy                           7/22/2020            424.97   P.O. Box 70516                                     Charlotte     NC   28272-0516
Duke Energy                           6/19/2020            355.03   P.O. Box 70516                                     Charlotte     NC   28272-0516
Edgar Camacho                         8/26/2020          1,891.06   Redacted
Edgar Camacho                         8/26/2020          1,669.60   Redacted
Elia Covino                           6/18/2020            190.00   Redacted
Elizabeth Obeidat                     8/20/2020            150.00   Redacted
Elizabeth Obeidat                     7/23/2020             90.00   Redacted
Emily Rasinovitsj                     6/22/2020            500.00   Redacted
Eversource                            6/24/2020            471.82   P.O. Box 56007                                     Boston        MA   02205-6007
Eversource                            7/24/2020            416.66   P.O. Box 56007                                     Boston        MA   02205-6007
Eversource                            8/24/2020            388.85   P.O. Box 56007                                     Boston        MA   02205-6007
Faruqi & Faruqi LLP                   8/27/2020          5,000.00   685 3rd Ave 24th Fl                                New York      NY   10017
First Energy                          8/19/2020            867.52   P.O. Box 3687                                      Akron         OH   44309-3687
First Energy                          7/21/2020            608.95   P.O. Box 3687                                      Akron         OH   44309-3687
First Energy                          6/19/2020            546.79   P.O. Box 3687                                      Akron         OH   44309-3687
Florida Department of Agriculture     7/20/2020            300.00   Plaza Level 10, The Capitol   400 S. Monroe St.    Tallahassee   FL   32399-0800
Florida Department of Revenue         6/19/2020            208.86   5050 W Tennessee St                                Tallahassee   FL   32399-0120
Florida Department of Revenue         7/21/2020            195.34   5050 W Tennessee St                                Tallahassee   FL   32399-0120
FPL                                   8/4/2020             871.58   General Mail Facility                              Miami         FL   33188-0001
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FPL                                  7/6/2020              518.38   General Mail Facility                       Miami          FL    33188-0001
FPL                                  9/3/2020              767.70   General Mail Facility                       Miami          FL    33188-0001
Georgia Department of Revenue       6/22/2020               72.45   1800 Century Blvd NE                        Atlanta        GA 30345
Georgia Department of Revenue       7/22/2020               12.52   1800 Century Blvd NE                        Atlanta        GA 30345
Georgia Department of Revenue       7/22/2020               11.29   1800 Century Blvd NE                        Atlanta        GA 30345
Gina Racz                           8/20/2020               40.00   Redacted
GPC                                 7/31/2020            1,322.23   Unknown
GPC                                  7/1/2020            1,221.63   Unknown
GPC                                 8/31/2020              999.50   Unknown
GTT Communication                   6/18/2020            2,067.39   One Penn Plaza, Ste 1005                    New York       NY   10119
Guadalupe De Maeyer                 7/23/2020               45.00   Redacted
Hardscrabble Commons                7/17/2020            2,396.90   65 Montauk Hwy, Ste A                       East Hampton   NY   11937
Heather Bildman                     7/22/2020               50.00   Redacted
Helena Clowacamo                     9/1/2020              250.00   Redacted
Holly Management Inc                 7/6/2020           16,912.54   12 Frontage Street                          Elmsford       NY   10523
Holly Management Corp               7/13/2020           17,081.67   12 Frontage Street                          Elmsford       NY   10523
Ijeoma Iheoma                       7/21/2020               50.00   Redacted
IPFS (Lockton Insurance Brokers, LLC)9/1/2020            9,033.25   1185 6th Ave                                New York       NY   10036
Jada Rosas                          7/22/2020               50.00   Redacted
Jennifer Barger                     8/20/2020               40.00   Redacted
Jennifer Roberts                    8/26/2020               55.00   Redacted
Jennifer Zemel                      8/20/2020               70.00   Redacted
Jessica Conners                      7/2/2020              712.70   Redacted
Jessica Conners                      7/2/2020              213.08   Redacted
Jessica Conners                     8/26/2020              135.80   Redacted
Jessica Conners                     8/26/2020               33.83   Redacted
Jessica Conners                      7/2/2020               13.09   Redacted
Jessica Conners                     8/26/2020               13.09   Redacted
Jessica Conners                     7/13/2020              725.79   Redacted
Jessica Wolvington                  8/19/2020           20,000.00   Redacted
Jill Sharfman                       6/23/2020               27.00   Redacted
JoBeth Penalba                        8/20/2020            160.00   Redacted
JoBeth Penalba                        8/10/2020             65.40   Redacted
Jonathan Rosas                        8/20/2020            560.00   Redacted
Jostyn Kosner                         7/21/2020            140.00   Redacted
Jostyn Kosner                         8/20/2020             95.00   Redacted
Julia Jameson                         8/20/2020             80.00   Redacted
Kasey E Lacore                        6/25/2020             47.84   Redacted
Kasey Lacore                          8/31/2020            623.90   Redacted
Katie Gottfried                       6/18/2020          1,390.44   Redacted
Kelvin Paulino                        7/23/2020            825.00   Redacted
Kelvin Paulino                        9/3/2020             260.00   Redacted
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Vendor                                 Date           Amount        Address 1                      Address 2     City             State Zip
Kelvin Paulino                      7/13/2020              640.00   Redacted
Kevin Belardo                       7/23/2020               80.00   Redacted
Kevin Custer                        8/21/2020           24,504.76   Redacted
Kilpatrick Townsend & Stockton LLP 9/9/2020            200,000.00   1100 Peachtree St. NE          Suite 2800    Atlanta          GA   30309
Kilpatrick Townsend & Stockton LLP 8/5/2020            150,000.00   1100 Peachtree St. NE          Suite 2800    Atlanta          GA   30309
Kilpatrick Townsend & Stockton LLP 9/2/2020            150,000.00   1100 Peachtree St. NE          Suite 2800    Atlanta          GA   30309
Law Offices of Todd M. Friedman, P.C.7/2/2020            2,000.00   21550 Oxnard St                Ste 780       Woodland Hills   CA   91367
Lawrence Beyer                      6/18/2020              957.10   Redacted
LIPA                                8/13/2020            1,086.17   P.O. Box 9039                                Hicksville       NY   11802-9039
LIPA                                9/11/2020              974.13   P.O. Box 9039                                Hicksville       NY   11802-9039
LIPA                                7/15/2020              830.36   P.O. Box 9039                                Hicksville       NY   11802-9039
Lockton Insurance Brokers, LLC       9/8/2020          352,936.00   1185 6th Ave                                 New York         NY   10036
Lockton Insurance Brokers, LLC       8/5/2020           19,036.16   1185 6th Ave                                 New York         NY   10036
Lockton Insurance Brokers, LLC      7/23/2020           13,273.01   1185 6th Ave                                 New York         NY   10036
Mariah Ostia                        8/20/2020               20.00   Redacted
Marley Francois                     8/20/2020              100.00   Redacted
Marley Francois                      9/1/2020              100.00   Redacted
Massachusetts Dep't of Revenue      6/22/2020               60.74   100 Cambridge Street, 2nd Fl                 Boston           MA   02114-0000
Megapath                            6/24/2020              348.54   210 Interstate North Pkwy      Suite 300     Atlanta          GA   30339
Megapath                              7/24/2020            348.54   210 Interstate North Pkwy      Suite 300     Atlanta          GA   30339
Megapath                              9/8/2020             348.54   210 Interstate North Pkwy      Suite 300     Atlanta          GA   30339
Merche-Solutions                      8/5/2020              75.90   Unknown
Merche-Solutions                      8/5/2020              75.90   Unknown
Merche-Solutions                      8/5/2020              75.90   Unknown
Merche-Solutions                      8/5/2020              73.67   Unknown
Merche-Solutions                      8/5/2020              72.90   Unknown
Merche-Solutions                      8/5/2020              72.90   Unknown
Merche-Solutions                      8/5/2020              71.90   Unknown
Merche-Solutions                      8/5/2020              71.90   Unknown
Merche-Solutions                      8/5/2020              71.90   Unknown
Merche-Solutions                      8/5/2020              71.90   Unknown
Merche-Solutions                      8/5/2020              71.90   Unknown
Merche-Solutions                      8/5/2020              71.90   Unknown
Merche-Solutions                      8/5/2020              71.90   Unknown
Merche-Solutions                      8/5/2020              71.90   Unknown
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Merche-Solutions                      8/5/2020              71.90   Unknown
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Merche-Solutions                      8/5/2020              71.90   Unknown
Merche-Solutions                      8/5/2020              71.90   Unknown
Merche-Solutions                      8/5/2020              71.90   Unknown
Merche-Solutions                      8/5/2020              71.90   Unknown
                                                                                        Page 6
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Vendor                                   Date         Amount       Address 1              Address 2            City      State Zip
Merche-Solutions                       8/5/2020            71.90   Unknown
Merche-Solutions                       8/5/2020            71.90   Unknown
Merche-Solutions                       8/5/2020            71.90   Unknown
Merche-Solutions                       8/5/2020            71.90   Unknown
Merche-Solutions                       8/5/2020            71.90   Unknown
Merche-Solutions                       8/5/2020            71.90   Unknown
Merche-Solutions                       8/5/2020            71.90   Unknown
Merche-Solutions                       8/5/2020            71.90   Unknown
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Merche-Solutions                       8/5/2020            71.90   Unknown
Merche-Solutions                       8/5/2020            71.90   Unknown
Merche-Solutions                       7/3/2020            65.90   Unknown
Merche-Solutions                       7/3/2020            65.90   Unknown
Merche-Solutions                       7/3/2020            62.15   Unknown
Merche-Solutions                       7/3/2020            61.90   Unknown
Merche-Solutions                       7/3/2020            60.88   Unknown
Merche-Solutions                       7/3/2020            56.90   Unknown
Merche-Solutions                       7/3/2020            55.90   Unknown
Merche-Solutions                       7/3/2020            55.90   Unknown
Merche-Solutions                       7/3/2020            55.90   Unknown
Merche-Solutions                       7/3/2020            55.90   Unknown
Merche-Solutions                       7/3/2020            55.90   Unknown
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Merche-Solutions                       7/3/2020            55.90   Unknown
Merche-Solutions                       7/3/2020            55.90   Unknown
Merche-Solutions                       7/3/2020            55.90   Unknown
Merche-Solutions                       7/3/2020            55.90   Unknown
Merche-Solutions                       7/3/2020            55.90   Unknown
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Vendor                                   Date         Amount       Address 1              Address 2            City      State Zip
Merche-Solutions                       7/3/2020            55.90   Unknown
Merche-Solutions                       7/3/2020            55.90   Unknown
Merche-Solutions                       7/3/2020            55.90   Unknown
Merche-Solutions                       7/3/2020            55.90   Unknown
Merche-Solutions                       7/3/2020            55.90   Unknown
Merche-Solutions                       7/3/2020            55.90   Unknown
Merche-Solutions                       7/3/2020            55.90   Unknown
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Merche-Solutions                       7/3/2020            55.90   Unknown
Merche-Solutions                       7/3/2020            55.90   Unknown
Merche-Solutions                       7/3/2020            55.90   Unknown
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Merche-Solutions                       7/3/2020            55.90   Unknown
Merche-Solutions                       7/3/2020            55.90   Unknown
Merche-Solutions                       7/3/2020            55.90   Unknown
Merche-Solutions                       7/3/2020            36.90   Unknown
Merche-Solutions                       7/3/2020            35.90   Unknown
Merche-Solutions                       7/3/2020            35.90   Unknown
Merche-Solutions                       9/3/2020            75.90   Unknown
Merche-Solutions                       9/3/2020            75.90   Unknown
Merche-Solutions                       9/3/2020            75.90   Unknown
Merche-Solutions                       9/3/2020            72.90   Unknown
Merche-Solutions                       9/3/2020            72.90   Unknown
Merche-Solutions                       9/3/2020            71.90   Unknown
Merche-Solutions                       9/3/2020            71.90   Unknown
Merche-Solutions                       9/3/2020            71.90   Unknown
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Merche-Solutions                       9/3/2020            71.90   Unknown
Merche-Solutions                       9/3/2020            71.90   Unknown
Merche-Solutions                       9/3/2020            71.90   Unknown
                                                                                 Page 8
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Vendor                                   Date         Amount        Address 1                    Address 2      City           State Zip
Merche-Solutions                      9/3/2020              71.90   Unknown
Merche-Solutions                      9/3/2020              71.90   Unknown
Merche-Solutions                      9/3/2020              71.90   Unknown
Merche-Solutions                      9/3/2020              71.90   Unknown
Merche-Solutions                      9/3/2020              71.90   Unknown
Merche-Solutions                      9/3/2020              71.90   Unknown
Merche-Solutions                      9/3/2020              71.90   Unknown
Merche-Solutions                      9/3/2020              71.90   Unknown
Merche-Solutions                      9/3/2020              71.90   Unknown
Merche-Solutions                      9/3/2020              71.90   Unknown
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Merche-Solutions                      9/3/2020              71.90   Unknown
Merche-Solutions                      9/3/2020              71.90   Unknown
Merche-Solutions                      9/3/2020              71.90   Unknown
Merche-Solutions                      9/3/2020              71.90   Unknown
Merche-Solutions                      9/3/2020              71.90   Unknown
Merche-Solutions                      9/3/2020              71.90   Unknown
Merche-Solutions                      9/3/2020              71.90   Unknown
Merche-Solutions                      9/3/2020              71.90   Unknown
Merche-Solutions                      9/3/2020              71.90   Unknown
Merche-Solutions                      9/3/2020              71.90   Unknown
Merche-Solutions                      9/3/2020              71.90   Unknown
Merche-Solutions                      9/3/2020              71.90   Unknown
Merche-Solutions                      9/3/2020              71.90   Unknown
Merche-Solutions                      9/3/2020              71.90   Unknown
Merche-Solutions                      9/3/2020              71.90   Unknown
Merche-Solutions                      9/3/2020              71.90   Unknown
Merche-Solutions                      9/3/2020              71.90   Unknown
Michael Horing                        7/21/2020             80.00   Redacted
Michael Peterson                      7/20/2020            110.00   Redacted
Michael Peterson                      8/20/2020             60.00   Redacted
Michael Peterson                      9/8/2020              60.00   Redacted
Miguel Cepeda                         8/20/2020            600.00   Redacted
Mike Piscadlo                         6/18/2020          1,548.04   Redacted
Mike Piscadlo                         6/18/2020            186.14   Redacted
Mutual of Omaha                       9/1/2020             864.13   P.O. Box 2147                               Omaha          NE   68103
Neil Phifer                           7/20/2020             80.00   Redacted
Neomancer LLC                         9/14/2020          9,600.00   4 S Orange Ave Apt. 248                     South Orange   NJ   07079-0000
Neomancer LLC                         6/18/2020          4,000.00   4 S Orange Ave Apt. 248                     South Orange   NJ   07079-0000
Neomancer LLC                         7/23/2020          3,200.00   4 S Orange Ave Apt. 248                     South Orange   NJ   07079-0000
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Vendor                                   Date         Amount        Address 1                     Address 2                      City           State Zip
Neomancer LLC                         9/1/2020           3,200.00   4 S Orange Ave Apt. 248                                      South Orange   NJ    07079-0000
Neomancer LLC                         7/13/2020          6,400.00   4 S Orange Ave Apt. 248                                      South Orange   NJ    07079-0000
Neomancer LLC                         9/9/2020           3,200.00   4 S Orange Ave Apt. 248                                      South Orange   NJ    07079-0000
Neomancer LLC                         9/3/2020           3,200.00   4 S Orange Ave Apt. 248                                      South Orange   NJ    07079-0000
New Jersey American Water             8/10/2020             20.20   P.O. Box 371331                                              Pittsburgh     PA 15250-7331
New Jersey American Water             9/9/2020              20.20   P.O. Box 371331                                              Pittsburgh     PA 15250-7331
New Jersey American Water             7/8/2020              19.21   P.O. Box 371331                                              Pittsburgh     PA 15250-7331
New Tech                              8/11/2020         75,000.00   25A Moffitt Blvd                                             Bay Shore      NY 11706
New Tech                              7/15/2020         20,000.00   25A Moffitt Blvd                                             Bay Shore      NY 11706
Nick Tigges                           7/2/2020             109.05   Redacted
NJ WEB PMT                            6/19/2020             10.00   Unknown
NYC ECB Fines                         6/24/2020            750.00   66 John Street, 10th Floor                                   New York       NY   10038
NYS Dep't Taxation and Finance        6/25/2020          5,055.00   Attn: Office of Counsel       Bldg 9, W A Harriman Campus    Albany         NY   12227
NYS Dep't Taxation and Finance        8/21/2020          1,443.81   Attn: Office of Counsel       Bldg 9, W A Harriman Campus    Albany         NY   12227
NYS Dep't Taxation and Finance        8/21/2020          1,349.12   Attn: Office of Counsel       Bldg 9, W A Harriman Campus    Albany         NY   12227
Omni Agent Solutions                  9/9/2020          57,500.00   1120 Avenue of the Americas   4th fl                         New York       NY   10036
Optimum                               7/16/2020            368.01   1111 Stewart Ave                                             Bethpage       NY   11714-3581
Optimum                               8/17/2020            368.01   1111 Stewart Ave                                             Bethpage       NY   11714-3581
Optimum                               6/16/2020            366.83   1111 Stewart Ave                                             Bethpage       NY   11714-3581
Pennsylvania Dep't of Revenue         7/22/2020              3.01   PO BOX 280905                                                Harrisburg     PA   17128-0905
Pennsylvania Dep't of Revenue         6/22/2020              3.00   PO BOX 280905                                                Harrisburg     PA   17128-0905
Peoples Gas                           7/6/2020             193.75   P.O. Box 6050                                                Carol Stream   IL   60197-6050
Peoples Gas                           9/3/2020             186.88   P.O. Box 6050                                                Carol Stream   IL   60197-6050
Peoples Gas                           8/4/2020             185.36   P.O. Box 6050                                                Carol Stream   IL   60197-6050
Peoples Gas                           8/4/2020              62.61   P.O. Box 6050                                                Carol Stream   IL   60197-6050
Peoples Gas                           9/3/2020              62.02   P.O. Box 6050                                                Carol Stream   IL   60197-6050
Peoples Gas                           7/6/2020              60.24   P.O. Box 6050                                                Carol Stream   IL   60197-6050
Philadelphia Insurance Company        8/27/2020         35,919.49   P.O. Box 70251                                               Philadelphia   PA   19176-0251
Philadelphia Insurance Company        7/24/2020              9.00   P.O. Box 70251                                               Philadelphia   PA   19176-0251
Potomac Electric                      8/14/2020          2,928.81   PO Box 97274                                                 Washington     DC   20090-7274
Potomac Electric                      9/14/2020          2,339.55   PO Box 97274                                                 Washington     DC   20090-7274
Potomac Electric                      7/13/2020          2,720.89   PO Box 97274                                                 Washington     DC   20090-7274
Potter Anderson                       9/9/2020          85,000.00   1313 N Market St                                             Wilmington     DE   19801
Potter Anderson                       8/12/2020         50,000.00   1313 N Market St                                             Wilmington     DE   19801
PR II Regions Plaza LLC               6/30/2020          2,083.33   1180 West Peachtree St        Ste 500                        Atlanta        GA   30309
Principal                             7/20/2020          3,095.73   711 High Street                                              Des Moines     IA   50392-0150
Principal                             7/31/2020          3,051.31   711 High Street                                              Des Moines     IA   50392-0150
Principal                             6/19/2020          2,950.33   711 High Street                                              Des Moines     IA   50392-0150
Principal                             7/6/2020           2,800.88   711 High Street                                              Des Moines     IA   50392-0150
Principal                             7/24/2020          1,583.44   711 High Street                                              Des Moines     IA   50392-0150
Principal                             8/18/2020          1,583.44   711 High Street                                              Des Moines     IA   50392-0150
PSEG                                  6/24/2020             48.61   P.O. Box 9039                                                Hicksville     NY   11802-9039
                                                                                       Page 10
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Vendor                                Date            Amount        Address 1                       Address 2     City            State Zip
PSEG                               8/24/2020                23.60   P.O. Box 9039                                 Hicksville      NY 11802-9039
PSEG                               7/24/2020                22.87   P.O. Box 9039                                 Hicksville      NY 11802-9039
Ranier Lopez                       8/26/2020               423.88   Redacted
Ranier Lopez                       6/18/2020               137.73   Redacted
Ranier Lopez                       6/18/2020                14.14   Redacted
Ruben Martiney                      9/2/2020               160.00   Redacted
Ruben Martinez                     8/20/2020               160.00   Redacted
Sarah Shaw                         8/20/2020               180.00   Redacted
Sarah Shaw                         7/20/2020                50.00   Redacted
Sarah Walker                       8/14/2020                30.00   Redacted
Sean Kelso                         8/20/2020               320.00   Redacted
SHI International Corp             7/14/2020            10,089.52   One Pennsylvania Plaza          Suite 1020    New York        NY   10119
SHI International Corp             7/14/2020            10,000.00   One Pennsylvania Plaza          Suite 1020    New York        NY   10119
Simon Rehm                         7/21/2020               230.00   Redacted
Simon Rehm                         8/20/2020               140.00   Redacted
Solar Protection Inc               6/25/2020             6,244.41   73-01 32nd Ave                                Flushing        NY   11370
Square Inc                          9/9/2020                 0.01   1455 Market Street, Suite 600                 San Francisco   CA   94103
Teco/People Gas                    7/31/2020                29.58   P.O. Box 31017                                Tampa           FL   33631-3017
Teco/People Gas                     9/1/2020                29.58   P.O. Box 31017                                Tampa           FL   33631-3017
Teco/People Gas                     7/1/2020                19.43   P.O. Box 31017                                Tampa           FL   33631-3017
TGA II LLC, DBA Royalton Park Avenue8/5/2020            29,998.18   420 Park Ave S                                New York        NY   10016
The Clubhouse                      8/18/2020             3,412.00   174 Daniels Hole Rd                           East Hampton    NY   11937
The Clubhouse                      8/18/2020               420.00   174 Daniels Hole Rd                           East Hampton    NY   11937
The Hartford                        7/1/2020             5,564.79   690 Asylum Avenue                             Hartford        CT   06155-0000
The Hartford                       8/14/2020               908.28   690 Asylum Avenue                             Hartford        CT   06155-0000
The Hartford                       7/14/2020               481.04   690 Asylum Avenue                             Hartford        CT   06155-0000
The Hartford                        9/2/2020               330.56   690 Asylum Avenue                             Hartford        CT   06155-0000
Time Warner Cable                  9/14/2020               256.51   60 Columbus Circle                            New York        NY   10023
Time Warner Cable                  7/13/2020               253.41   60 Columbus Circle                            New York        NY   10023
Time Warner Cable                  8/13/2020               253.41   60 Columbus Circle                            New York        NY   10023
Tom Holtz                          7/24/2020                80.00   Redacted
Tom Holtz                          8/20/2020                75.00   Redacted
Travis Frenzel                     7/23/2020             4,952.72   Redacted
Travis Frenzel                     6/25/2020               118.67   Redacted
Travis Frenzel                     7/23/2020               118.67   Redacted
Travis Frenzel                     8/26/2020                35.00   Redacted
Valentina Marin                    9/11/2020             1,457.35   Redacted
Verizon                            8/24/2020               246.98   140 West St.                                  New York        NY   10007
Verizon                            6/30/2020               163.98   140 West St.                                  New York        NY   10007
Verizon                               7/28/2020            163.98   140 West St.                                  New York        NY   10007
Verizon                               8/28/2020            163.98   140 West St.                                  New York        NY   10007
Verizon                               7/8/2020             141.98   140 West St.                                  New York        NY   10007
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Vendor                                   Date         Amount        Address 1                    Address 2          City            State Zip
Verizon                               8/10/2020            141.98   140 West St.                                    New York        NY 10007
Verizon                               9/8/2020             141.98   140 West St.                                    New York        NY 10007
Wageworks                             8/24/2020            253.33   1100 Park Place 4th Floor                       San Mateo       CA 94403
Wageworks                             6/25/2020            188.65   1100 Park Place 4th Floor                       San Mateo       CA 94403
Wageworks                             7/24/2020            188.65   1100 Park Place 4th Floor                       San Mateo       CA 94403
Wageworks                             7/8/2020             164.22   1100 Park Place 4th Floor                       San Mateo       CA 94403
Wageworks                             8/7/2020             164.22   1100 Park Place 4th Floor                       San Mateo       CA 94403
Wageworks                             9/9/2020             164.22   1100 Park Place 4th Floor                       San Mateo       CA 94403
Walker Stevens Cannom LLP             8/26/2020            160.00   550 South Hope St, Ste 460                      Los Angeles     CA 90071
Walker Stevens Cannom LLP             7/13/2020         10,360.00   550 South Hope St, Ste 460                      Los Angeles     CA 90071
Washington Dep't of Revenue           6/23/2020            618.08   PO Box 47464                                    Olympia         WA 98504-7464
Waste Connection                      6/23/2020          1,702.74   c/o Miami Hauling            3840 NW 37th Ct    Miami           FL    33142
Windstream                            6/17/2020          1,698.95   P.O. Box 9001013                                Louisville      KY 40290-1013
WW Ben Pmt                            7/21/2020            222.00   Unknown
WW Ben Pmt                            7/7/2020             208.10   Unknown
WW Ben Pmt                            6/26/2020            198.58   Unknown
WW Ben Pmt                            7/17/2020            111.00   Unknown
WW Ben Pmt                            9/14/2020             80.00   Unknown
WW Ben Pmt                            8/7/2020              71.80   Unknown
WW Ben Pmt                            7/6/2020              65.00   Unknown
WW Ben Pmt                            6/19/2020             55.00   Unknown
WW Ben Pmt                            8/17/2020             55.00   Unknown
WW Ben Pmt                            9/8/2020              30.00   Unknown
WW Ben Pmt                            7/28/2020             19.98   Unknown
WW Ben Pmt                            7/31/2020             10.00   Unknown
WW Ben Pmt                            9/4/2020              10.00   Unknown
WW Ben Pmt                            9/9/2020             227.00   Unknown
WW Ben Pmt                            7/24/2020             54.18   Unknown
WW Ben Pmt                            8/26/2020             27.00   Unknown
Xxcel Energy - PSCO                   7/2/2020           1,311.98   414 Nicollet Mall                               Minneapolis     MN   55401
Xxcel Energy - PSCO                   8/31/2020          1,278.32   414 Nicollet Mall                               Minneapolis     MN   55401
Xxcel Energy - PSCO                   8/5/2020           2,117.19   414 Nicollet Mall                               Minneapolis     MN   55401
Zendesk Inc                           6/30/2020          3,772.20   1019 Market St                                  San Francisco   CA   94103




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